                           UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION

CAROLYN SAYLON,                               )
Representative of Saleh A. Saylon Estate      )
                      Plaintiff,              )
                                              )
v.                                            )       JUDGMENT
                                              )       No. 5:20-CV-176-FL
UNITED STATES OF AMERICA                      )
                Defendant                     )

Decision by Court.

This action came before the Honorable Louise W. Flanagan, United States District Judge, for
consideration of the defendant’s motion for summary judgment.

IT IS ORDERED, ADJUDGED AND DECREED in accordance with the court’s order entered
July 8, 2022, and for the reasons set forth more specifically therein, it is ordered that defendant’s
motion for summary judgment is GRANTED.

This judgment Filed and Entered on July 8, 2022, and Copies To:
Carolyn Saylon (via US mail) 2917 Meadow Mont Lane, Fayetteville, NC 28306
Sharon C. Wilson (via CM/ECF Notice of Electronic Filing)

July 8, 2022                          PETER A. MOORE, JR., CLERK

                                        /s/ Sandra K. Collins
                                      (By) Sandra K. Collins, Deputy Clerk




           Case 5:20-cv-00176-FL Document 70 Filed 07/08/22 Page 1 of 1
